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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                            : CHAPTER 7
                                                  :
NICOLE RENEE PAINTER,                             : CASE NO. 20-71598-WLH
                                                  :
             Debtor.                              :

          CHAPTER 7 SUPPLEMENTAL DIVIDEND DISTRIBUTION REPORT

         The disbursement made to the Navient Solutions, LLC in the amount of $476.56 was

returned by the creditor stating that the student loan has been overpaid. The Trustee will

redistribute said amount to allowed claims as set forth according to the priorities in 11 U.S.C. §

507 and 726 and in accordance with Fed. R. Bankr. P. 3010 and 3011. The approved final

supplemental distributions are set forth in the attached Exhibit “A.”




 Prepared by:

    /s/ s. Gregory Hays
 S. Gregory Hays
 Chapter 7 Trustee

 Hays Financial Consulting, LLC
 2964 Peachtree Road, NW, Ste 555
 Atlanta, GA 30305
 (404) 926-0060
 ghays@haysconsulting.net
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                                 TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                      Exhibit A


   Case No. 20-71598
   Case Name: NICOLE RENEE PAINTER
   Trustee Name: S. Gregory Hays

                                                  Balance on hand:       $                              476.56

          Claims of secured creditors will be paid as follows:

  Claim    Claimant                                       Claim        Allowed             Interim      Proposed
  No.                                                   Asserted       Amount           Payments         Payment
                                                                       of Claim           to Date

                                                      None

                                               Total to be paid to secured creditors:       $                 0.00
                                               Remaining balance:                           $               476.56

          Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                       Total             Interim      Proposed
                                                                     Requested          Payments         Payment
                                                                                          to Date

  Trustee, Fees - S. Gregory Hays                                      4,250.00          4,250.00            0.00
  Accountant for Trustee, Fees - Hays Financial Consulting,            3,030.00          3,030.00            0.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                       90.05             90.05            0.00
  Consulting, LLC
  Trustee, Expenses - S. Gregory Hays                                     70.79             70.79            0.00
  Attorney for Trustee Fees (Other Firm) - Arnall Golden               2,175.25          2,175.25            0.00
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden              10.39             10.39            0.00
  Gregory LLP
                     Total to be paid for chapter 7 administrative expenses:                 $                0.00
                     Remaining balance:                                                      $              476.56

          Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                 Total          Interim            Proposed
                                                                   Requested      Payments           Payment

                                                      None




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                       Total to be paid for prior chapter administrative expenses:              $            0.00
                       Remaining balance:                                                       $          476.56

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

            Allowed priority claims are:
  Claim       Claimant                             Allowed Amount         Interim Payments             Proposed
  No.                                                     of Claim                  to Date             Payment

                                                        None

                                                     Total to be paid for priority claims:      $            0.00
                                                     Remaining balance:                         $          476.56

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $29,269.15 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 85.7 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount         Interim Payments             Proposed
  No.                                                     of Claim                  to Date             Payment
  1           American Express National                    2,011.46                  1,691.65              32.75
              Bank
  2           Citibank, N.A.                               4,123.62                  3,467.99              67.14
  3           Navient Solutions, LLC.                           0.00                     0.00                  0.00
  4           UNITED STATES                                1,288.56                  1,083.69              20.98
              DEPARTMENT OF
              EDUCATION
  5           UNITED STATES                                1,226.48                  1,031.48              19.97
              DEPARTMENT OF
              EDUCATION
  6           SoFI Consumer Loan                          13,693.65               11,516.45               222.96
              Program 2019-2
  7           Happy Money Inc, DBA                         6,925.38                  5,824.29             112.76
              Payoff
                         Total to be paid for timely general unsecured claims:                  $          476.56
                         Remaining balance:                                                     $            0.00




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          Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
   paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
   have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
   applicable).
          Tardily filed general (unsecured) claims are as follows:
  Claim    Claimant                               Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment

                                                       None

                        Total to be paid for tardily filed general unsecured claims:        $                 0.00
                        Remaining balance:                                                  $                 0.00

         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
   subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
   allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
   subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
         Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
   subordinated by the Court are as follows:

  Claim    Claimant                               Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment

                                                       None

                                                Total to be paid for subordinated claims: $                   0.00
                                                Remaining balance:                        $                   0.00

   Date: Sep 21, 2022                  Signed: /s/ S. Gregory Hays
                                               S. Gregory Hays, Trustee
                                               2964 Peachtree Road, NW, Ste. 555
                                               Atlanta, GA 30305
                                               4049260060




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